STATE OF TENNESSEE
Department of Commerce and lnsurance
500 James Robertson Parkway
Nashvi|le, TN 37243-1 131
Pl-l - 61 5.532.5260, FX - 61 5.532.2788
Jerald.E.Gi|bert@tn.gov

Juiy 17, 2012

'Fireman‘S Fund insurance Company Certified Mai|

800 S. Gav Street, Ste 2921. % C T Corp. Return Receir:)t Recruested
Knoxviiie, TN 37929-9710 7011 2970 0003 4363 4244
NAEC # 21873 Cashier_# 4252

Re: Envy Twenty~Seven, Lic V. Fireman'S Fund insurance Company

DOCkef # 2-351~12

To Whom it May Concern:

Pursuant to Tennessee Code Annotated §56-2-504 or § 56~2-506, the Department of
Commerce end insurance was served Juiy 17, 2012, on your beheif in connection with the
above-styied proceeding Documentation relating to the subject is herein enclosed

deraid E. Gi|bert
Designated Agent
Service of Process

Enciosures

cc: Circuit Court Clerk
Knox County - .
400 Mein Avenue, Rm M-BO C/C B|dg
Knoxvi|ie, Tn 37902

EXHIB\T

 

ease 3:12-cv-00429-TAv-CCS Documem 1-1 Filed 03/14/12 Page 1 or

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STA'I`E OF TENNESSEE if § l § D
CIRCUIT COUR'I` OF KNOX COUNTY "

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BNVY 27, LLc d/b/a MoTsL 6, )
V Plamt'ff § cs.rlt;~zt:tl: r;_cu.s:
‘ ) cta:u:r cesa. cia :.
FIREMAN’S FUND 1NsURANcE coMPANIEs, )
Defendant )

Civii notion NO. g ~ 3 6 /»l 2~
summons

Serve: Fireman’s Fund lnsurance'Companies, which is the Plaintifi’s Business PoIicy Carrier, (Policy No. A
84 AZC 80849893) (Policy holder Envy 27, LLC dib/a Motel 6). Serve through the Commissioner of
Insurance for the State of Tennessee.

You are hereby summoned and required to serve upon

Edward L. Summers
Whose address is: 900 S. Gay Street, Suite 2107
Knoxville, Tennessee 3'!902

a true copy of the Answer to the Complaint which is herewith served upon you, within 30 days
after service of this Sumrnons upon you, exclusive of the clay of service The original Answer
shall be filed with the Court, 400 Main Avenue, Suite M-30, Knoxville, Tennessec 37902. If
you fail to do so, judgment by default will be taken against you for the relief demanded in the

Complaint.
lssued this 5 day ofJuly, 2012.

Witness, Catherine Quist, Clerk of Said Court, at office in Knoxville, Tenoessee.

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Deputy -Cler
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Tennessee law provides a ten thousand dollar ($ltl 000 00) personal property exemption from execution of seizure to satisfy a judgment ll` a
judgment should be entered against you in this action and you wish to claim property as exempt, you must tile a written list, under oath, ol' the
items you wish to claim as exempt with the clerk ol` the court Thc list may bc filed at any time and may bc changed by you therealler as
necessary; however, unless it is died before the judgment becomes linal, it will not be effective as to any execution ol' garnishment issued prior to
the filing oftlte list. C’ertain items arc automatically exempt bylaw and do not need to be listcd; those include items ofneeessary wearing apparel
(elotlting) for yourselt`and your family and trunks or other receptacles necessary to contain such apparei, l`amily portraits, the family Bib[e, and
school books. Should any oftltese items be seized you would have the right to recover them. if you do not understand your exemption right or
how lo exercise il, you may wish to seek the counsel ofa lawyer. 'l`.C.A. §26-2-| id.

Case 3:12-cV-OO429-TAV-CCS Document 1-1 Filed 08/14/12 Page 2 of 7 Page|D #: 5

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/‘»JV

RETURN OF SERVICE OF SUMMONS

 

Received this day of , 20l2.

 

Deputy Sheriff
I hereby certify and return that on the day of , 2012, l served this

summons together with the complaint as follows:

 

 

l failed to serve this summons within 30 days after its issuance because:

 

 

 

Sheriff` - Deputy Sheriff

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Case 3:12-cV-OO429-TAV-CCS Document 1-1 Filed 08/14/12 Page 3 of 7 Page|D #: 6

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IN 'I'HE CIRCUIT COUR'I` FOR KNOX COUNTY" 'l`-ENNESSEE

 

Lr. LJ
ENVY 27, LLC d/b/a MOTEL 6, )
) ZUIZ JUL ~5 iD 3= 32
Ptainaff )
) can ;R: BC;&:'-'
v. ) Doc|lr<iet'*Nbi' 9 is gi ;"| 2
~ ) JURY DEMAND
FIREMAN’S FUND INSURANCB COMPANIES, )
)
Defendant )
COMPLAINT

Comes the Plaintiff, Envy 27, LLC, and sues the Defendant, Fireman’s Funcl Insurance
Companies, and for cause of action show to the Court as follows:

1. Envy 27, LLC, is a Tennessee limited liability company, with its principal office
at 326 Loveli Road, Knoxville, Knox County, Tennessee 37933.

2. Defendant, Pireman’s Fund Insurance Companies, is an insurance company
authorized to transact business in the State of Tennessee. Process may be served upon the
Commissioner of insurance for the State ot`Tennessec.

3. Plaintiff is the owner of a hotel located at 326 Lovell Road, Knoxville, Tennessee,
known as Motel 6. On or about March 5, 201 1, Defcndant issued its insurance policy to
Plaintift`, being Policy #A 84 AZC 808{12893, insuring Plaint`iff agains; certain risks and periis,
including property damage. v h 0 s ll

4. On April 27, 201 1, Plaintiff’s Niotel 6.sustained severe and substantial damage

from inclement weather, primarily a hail storm. Such damage is covered under Defendant’s

insurance policy.

Case 3:12-CV-OO429-TAV-CCS Document 1-1 Filed 08/14/12 Page 4 of 7 Page|D #: 7

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5. The damages sustained by Plaintiff’s motel include, but are not limited to, roof
damage, carpet and furniture damage, signage damage, mold, and loss from business

intenuption.

6. Plaintiff` has submitted a claim for the damage sustained by it, Fnr which
Defendant’s insurance policy affords coverage However, Plaintift`s claim has not been honored
or paid, and suit is hereby commenced to recover the damages to which it is entitled under
Defendant’s policy of insurance

7. On April 30, 2012, Plaintiff wrote Defendant, by certified mail advising that
Defendant’s refusal to pay Plaintiffs’ claim was in bad faith as defined in Tenn. Code Ann. § 56-
7-105. Theret`ore, Piaintiff avers that it is entitled to recover a 25% penalty on its claim pursuant
to said statute

WHEREFORE, Plaintiff sues the Defendant for damages not to exceed the sum of Five
Hundred Thousand Dollars ($500,000.00), and demands a jury of twelve (12) to try the issues

joined herein.

ENVY 27, LLC dib/a MO'I`EL 6

By:

 

sdwa-d L. su&mets,`soocezs
Attorney for Plaintiff
HAY’NES, MEEK, SUMMERS‘ & S'I'ANUSZEK
900 S. Gay Street, Suite 2107
Knoxviiie, Tennessee 37902
(865) 546-8?06

Case 3:12-CV-OO429-TAV-CCS Document 1-1 Filed 08/14/12 Page 5 of 7 Page|D #: 8

eastman

The undersigned acknowledge themselves bound for the costs cf this cause, in
accordance with Tenn. Ccde Ann. § 20-12-120.

This the § day ofJuly, 2012.

ENVY 27, LLC dib/a MOTEL 6,
Principai

By= %Pr¢s\
Edward L. ummers

HAYNES, MEEK, SUMMERS &
STANUSZEK, Surety

By:

 

Bdward L. Summe'rs, Attorney

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Case 3:12-CV-OO429-TAV-CCS Document 1-1 Filed 08/14/12 Page 6 of 7 Page|D #: 9

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Case 3:12-cv O429-TAV-CCS Document 1-1 Filed 08/14412 Page 7 of 7 Page|D #: 10

 

